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                                                                                                                           D Check if this an
                                                                                                                             amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                        12/17
                                                                                                                                           joint
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
                                                                                                                                            answer
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks,"Do you own a car," the
             if either debtor owns a car. When information is needed   about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
would be yes
                                                                                                                                                  1
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor in
all of the forms.
                                                                                                                                        information. If
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
              needed, attach a separate sheet to this form. On the top of any additional pages, write your name  and  case number  (if known). Answer
more space is
every question.


           Identify Yourself

                                    About Debtor 1:                                              About Dehtor 2(Spouse Onty fn a Joinf Case):

 1.   Your full name

      Write the name that is on     Yueting              __
      your government-issued        First name                                                   First name
      picture identification (for
      example, your driver's
      license or passport).         Middle name                                                           name

      Bring your picture            Jia
      identification to your                                                                      Last name and Suffix (Sr., Jr., II, III)
                                    Last name and Suffix (Sr., Jr., II, III)
      meeting with the trustee.




 2.   All other names you have
      used in the Last 8 years YT Jia
      Include your married or
      maiden names.



 3.   Only the last 4 digits of
      your Social Security
      number or federal             xxx-xx-8972
      Individual Taxpayer
      Identification number
      QTIN)




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Debtor 1      Yueting Jia                                                                            Case number ~irknown~




                                    About debtor 1:                                              About Debtor 2(Spouse Only in a Joint Case;:


4.     Any business names and
       Employer Identification
       Numbers(EIN) you have        ■ I have not used any business name or EINs.                 ❑ I have not used any business name or EINs.
       used in the last 8 years

        Include trade names and     Business names)                                              Business names)
        doing business as names




5.      Where you live                                                                           If Debtor 2 lives at a different address:

                                    91 Marguerite Drive
                                    Rancho Palos Verdes, CA 90275
                                    Number, Street, City, State &ZIP Code                        Number, Street, City, State &ZIP Code

                                    Los Angeles
                                    County                                                       County

                                    If your mailing address is different from the one            If Debtor 2's mailing address is different from yours, fill it
                                    above, fill it in here. Note that the court will send any    in here. Note that the court will send any notices to this
                                    notices to you at this mailing address.                      mailing address.



                                    Number, P.O. Box, Street, City, State &ZIP Code              Number, P.O. Box, Street, City, State &ZIP Code




6.      Why you are choosing        Check one:
        this district to file for                                                                Check one:
        bankruptcy                  ❑      Over the last 180 days before filing this petition,
                                            have lived in this district longer than in any       ❑     Over the last 180 days before filing this petition,
                                           other district.                                             have lived in this district longer than in any other
                                                                                                       distncf.
                                    ■      I have another reason.
                                           Explain.(See 28 U.S.C. § 1408.)                       ❑      I have another reason,
                                                                                                        Explain.(See 28 U.S.C. § 1408.)
                                    Debtor's principal asset is located in this
                                    district




                                                 Voluntary Petition for individuals ~ifing for Bankruptcy                                               page
     Official Form 101
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Debtor 1    Yuetina Jia                                                                                 Case number ~irknown~



           Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under  ~ Chapter 7

                                 ■ Chapter 11
                                 ❑ Chapter 12
                                 ❑ Chapter 13



8.   How you will pay the fee     ■     I will pay the entire fee when I file my petition. Piease check with the clerk's office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                        order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                        a pre-printed address.
                                  ❑     I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                        The Filing Fee in Installments (Official Form 103A).
                                  Q     I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                        but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                        applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                        the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1036) and file it with your petition.



9.   Have you filed for           ■ No.
     bankruptcy within the
     last 8 years?                ❑Yes.
                                             District                                 When                             Case number
                                             District                                 When                             Case number
                                             District                                 When                             Case number



10. Are any bankruptcy            ■ No
    cases pending or being
    filed by a spouse who is      ❑Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                             Debtor                                                                   Relationship to you
                                             District                                  When                           Case number, if known
                                             Debtor                                                                   Relationship to you
                                             District                                  VUnen                          Case number, if known



11. Do you rent your              ❑ No.        Go to line 12.
    residence?
                                  ■ Yes.       Has your landlord obtained an eviction judgment against you?

                                               ■        No. Go to line 12.

                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You(Form 101 A) and file it with this
                                                        bankruptcy petition.




 Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Yuetinq Jia                                                                                Case number ~ifknown~



           Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time      ■ Np,       Go to Part 4.
    business?
                                   ❑ Yes.      Name and location of business
    A sole proprietorship is a                                                        _                                                   __
    business you operate as                    Name of business, if any
    an individual, and is not a
    separate legal entity such
    as a corporation,
    partnership, or LLC.                                                                     __                                                _
                                               Number, Street, City, State &ZIP Code
    If you have more than one
    sole proprietorship, use a
    separate sheet and attach
    it to this petition.                       Check the appropriate box to describe your business:
                                               ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                               ❑       Stockbroker(as defined in 11 U.S.C. § 101(53A))
                                               ❑       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(8).
    debtor?
                                   ❑ No.        I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11       ~ No         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51 D).                        Code.

                                   ❑ Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any         ■ No.
    property that poses or is
    alleged to pose a threat       ❑Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street,




 Official Form 101                             Voluntary Petition for Individuals Fiting for Bankruptcy                                                 page 4
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Debtor 1    Yuetina Jia                                                                               Case number ~irknown~

•.         Explain Your Efforts to Receive a Briefing About Credit Counseling
                                   Ahout Rebtor 'E:                                               About Qebtor 2(Spouse Onty in a Joint Case}:
15. Tell the court whether         You must check one:                                            You must check one:
    you have received a            ~ I received a briefing from an approved credit                ❑ I received a briefinr~ from an approved credit
    briefing about credit              counseling agency within tfie 180 days before I                counseling agency within the 180 days before I filed
    counseling,                        filed this bankruptcy petition, and 1 received a               this bankruptcy petition, and I received a certificate of
                                       certificate of completion.                                     completion.
     The law requires that you
     receive a briefing about           Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment plan, if
     credit counseling befiore          plan, if any, that you developed with the agency.              any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check     ❑    I received a briefing from an approved credit             ❑    I received a briefing from an approved credit
     one of the following               counseling agency within the 180 days before I                 counseling agency within the 180 days before I filed
     choices. If you cannot do          filed this bankruptcy petition, but I do not have              this bankruptcy petition, but 1 do not have a certificate
     so, you are not eligible to        a certificate of completion.                                   of completion.
     file.                                                                                             Within 14 days after you file this bankruptcy petition, you
                                        Within 14 days after you file this bankruptcy
                                        petition, you MUST file a copy of the certificate and          MUST file a copy of the certificate and payment plan, if
     If you file anyway, the court                                                                     any.
     can dismiss your case, you         payment plan; if any,
     will lose whatever filing fee
                                   ❑    I certify that I asked for credit counseling              ❑    I certify that I asked for credit counseling services
     you paid, and your
                                        services from an approved agency, but was                      from an approved agency, but was unable to obtain
     creditors can begin
                                        unable to obtain those services during the 7                   those services during the 7 days after I made my
     collection activities again,
                                        days after I made my request, and exigent                      request, and exigent circumstances merit a 30-day
                                        circumstances merit a 30-day temporary waiver                  temporary waiver of the requirement.
                                        of the requirement.
                                                                                                       To ask fora 30-day temporary waiver of the requirement,
                                        To ask fora 30-day temporary waiver of the                     attach a separate sheet explaining what efforts you made
                                        requirement, attach a separate sheet explaining                to obtain the briefing, why you were unable to obtain it
                                        what efforts you made to obtain the briefing, why              before you filed for bankruptcy, and what exigent
                                        you were unable to obtain it before you filed for              circumstances required you to file this case.
                                        bankruptcy, and what exigent circumstances
                                        required you to file this case.                                Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                        Your case may be dismissed if the court is                     filed for bankruptcy.
                                        dissatisfied with your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                      If the court is satisfied with your reasons, you must still
                                        If the court is satisfied with your reasons, you must          receive a briefing within 30 days after you file. You must
                                        still receive a briefing within 30 days after you file.        file a certificate from the approved agency, along with a
                                                                                                       copy of the payment plan you developed, if any. If you do
                                        You must file a certificate from the approved
                                        agency, along with a copy of the payment plan you              not do so, your case may be dismissed.
                                        developed, if any. If you do not do so, your case              Any extension of the 30-day deadline is granted only for
                                        may be dismissed.                                              cause and is limited to a maximum of 15 days.
                                        Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15
                                        days.
                                   ❑    I am not required to receive a briefing about             ❑    I am not required to receive a briefing about credit
                                        credit counseling because of:                                  counseling because of:

                                        ❑      Incapacity.                                             ❑    Incapacity.
                                                have a mental illness or a mental deficiency                I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                        ❑      Disability.                                             ❑     Disability.
                                               My physical disability causes me to be                        My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,                participate in a briefing in person, by phone, or
                                               by phone, or through the Internet, even after I               through the Internet, even after I reasonably tried to
                                               reasonably tried to do so.                                    do so.

                                        ❑      Active duty.                                            ❑     Active duty.
                                                am currently on active military duty in a                    I am currently on active military duty in a military
                                               military combat zone.                                         combat zone.
                                        If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                        briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                        motion for waiver credit counseling with the court.            of credit counseling with the court.




 Official Form 101                              Voluntary Petition for individuals Filing for Bankruptcy                                                 p~9e ~
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Debtor 1    Yuetina Jia                                                                                Case number ~ifknown~

           Answer These Questions for Reporting Purposes
16. What kind of debts do       16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
    you have?                             individual primarily for a personal, family, or household purpose."
                                          ■ No. Go to line 16b.
                                          D Yes. Go to line 17.
                                16b.      - Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                            money for a business or investment or through the operation of the business or investment.
                                          ❑ No. Go to line 16c.
                                          ■ Yes. Go to line 17.
                                16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under        ~ No      I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that      ❑Yes.      I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                     are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses              O No
     are paid that funds will
     be available for                     ❑Yes
     distribution to unsecured
     creditors?

18. How many Creditors do       ❑ ~-49                                         ❑ 1,000-5,000                               ❑ 25,001-50,000
    you estimate that you       ~ 50.99                                        ❑ 5001-10,000                               O 50,001-100,000
    owe?
                                ■ 100-199                                      ❑ 10,001-25,000                             ❑More than100,000
                                ❑ 200-999

19. How much do you             ❑ $0 - $50,000                                 ❑ $1,000,001 - $10 million                  ■ $500,000,001 - $1 billion
    estimate your assets to     ~ 850,001 - $100,000                           ❑ $10,000,001 - $50 million                 ❑ $1,000,000,001 - $10 billion
    be worth?                                                                  ❑ $50,000,001 - $100 million
                                ❑ $100,001 - $500,000                                                                      ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                        D $100,000,001 - $500 million               ❑More than $50 billion

20. How much do you             ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
    estimate your liabilities   ~ $50,001 - $100,000                            ❑X10,000,001 - $50 million                 ■ $1,000,000,001 - $10 billion
    to be?                                                                      ❑ $50,000,001 - $100 million
                                ❑ $100,001 - $500,000                                                                      ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion


           Sign Below

For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and Correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an aftorney to help me fill out this
                                document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                and 3571.

                                Yuetiltg Jia                                                     Signature of Debtor 2
                                Signature of Debtor 1

                                Executed on                                                      Executed on
                                                MM / DD / YYYY                                                    MM / DD / YYYY




 Official Form 101                           Voluntary Petition for Individuals filing for ~~nkrup~ey                                                    page o
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Unifed 9t~~tes F3ankruptcy Court for the:

DISTRICT 01= D~l_AWARF

Case number pr.¢»<~,~t,~                                                        Chapter you are ~ilinc~ under:
                                                                                D Chapter 7

                                                                                   Chapter 11
                                                                                C7 L'ha~ater t2
                                                                                D Chapter 13                            ~          D Checic if this an
                                                                                                                                     amended filing




Official Form ~ 0~
~'~I~r~~a I~~~i~tic~~ ~~c~~ [~c~ividual~ Filin ~o~ ~~nkrup~c                                                                                                  ~2~~~
Tire bankr~iptcy forms use you and Debtor 1 to rafor to a debtor filing alone. A married couplo may file ~r bankruptcy case tac~other—called a joint
caso—and in joint cases, these: forms use you to ask far infarmatfon from both debtors. har example, i(a form asks,"Clo you own a car," tho answer
would be yes if either debtor owns a car. Wher7 information is nestled about the spouses scparateiy, the form uses Oc6tor 7 anti Dehtar 2 to distinguis{i
betwaen them. in joint cases, one of the souses must reE~ort information as Det~tor i and the other as Dehtor Z, The same person must be Debtor 1 h~
all of the forms.

Be as completci end accurate as possible, IF two married poopie are fiUng to~efhor, both are equally responsible fior supplying correct information. tf
more space is Headed, attach z separate sheet to this form. On tiro top of any additional paces, write your name and case number (if known}.Answer
every question.
   ,..,M,.
;~` ~' :Sign Below

For you                              have examined ihis petition, and i declare under panalty ofperjury khat the information provided is true and correct.

                                    It t have chosen to file under Chanter 7,(am aware kh~t I may proceed. if eligible, under Chapter 7, 11,17_, or 13 of titla 11,
                                    United States Code. i understand the relief available under ~~ch chapter, and t choose io proceed under Chapter 7.

                                   If no atiornoy represents me and i did not pay or agreQ to pay someone who is not an attorney to h ip me fill out this
                                   document, i have obtained and read the notice required by 1i U,S.C. § 342(bj.

                                     request relief in accordance with the ci7apter of kitle 11, United States Coc1e, S~~CCIfIBd   to (f11S }7GflffOft.


                                   i undersianct making a false statement, concealing properky, or obtaining money or property by #rood in connection. with a
                                   banl<runtcy case can rasuli in fines up to S250,000, or imprisonment(ar up to 20 years, or both. 18 U.S.C, §§ 152, 13~3fi, 1519,
                                  ..and X571      ~~            ~~_,..~ ~l
                                                                     ~~~,

                                    Yueting Jia                                                       Signature ai Oebtor 2
                                    Signature of Debtor 1

                                    Ex4culed on      ~~ t~         ~~                                 Executed on
                                                    Mtvi C3D ~YYYY                                                    Mlvi t L~t7 / YYYY




Otfiri~i Fprm 1Q1                               Voluntary Potition for Indivfdu2ts i=ilinc~ for E3ankruEatey                                               (~~q~ '~
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Debtor 1   Yuetin                                                                                        Case number ~i~known~




For your attorney, if you are   I, the attorney for the debtors) named in this petition, declare that I have informed the debtors) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtors) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                                               ~~~
                                                                                                  Date          ~'~ ~/~        ~
                                                               --- —
                                Si   ature of Attorney for Debtor                                               MM / DD / YYYY

                                James E. O'Neill
                                Printed name

                                Pachulski Stang Ziehl &Jones LLP
                                Firm name

                                919 N. Market Street
                                17th Floor
                                Wilmington, DE 19899                                                                                           _
                                Number, Street, City, State &ZIP Code

                                Contact phone    302-652-4100                                Email address        joneill@pszjlaw.com
                                4042 DE
                                Bar number &State




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 Fill in this information to identify the case:
 Debtor name          Yueting Jia
 United States Bankruptcy Court for the:                  DISTRICT OF DELAWARE                                                                   Check if this is an
 Case number (if known):                                                                                                                         amended filing




Official Form B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
Against You and Are Not Insiders                                                          12/15



If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12,
or Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general
partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer,
director, person in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a
business you operate as a sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured
claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

List the 20 Unsecured Claims in Order from Largest to Smallest.                               Do Not Include Claims by Insiders.

        Name of creditor and                Name, telephone number      Nature of claim       Indicate if    Amount of claim
        complete mailing address,           and email address of        (for example, trade   claim is
        including zip code                  creditor contact            debts, bank loans,    contingent,
                                                                        professional          unliquidated   Total Claim (secured   Value of Security       Unsecured claim
                                                                        services, and         or disputed    and unsecured)
                                                                        government
                                                                        contracts)
 1.     Shenzhen Yingda                     Qianhong Shi                Personal                             $279,720,279.72 $0.00                          $279,720,279.72
        Capital Management                  (+86)13581768171            Guarantee
        Co., Ltd.                           shiqh@ydcmc.com
        22nd Floor, West
        Tower, World Financial
        Center, Chaoyang
        District,
        Beijing 100020
        CHINA
 2.    3China CITIC Bank Co.,               Bo zhang          Personal                                       $233,034,335.66 $0.00                          $233,034,335.66
        Ltd. Head Office Sales              (+86)13810069580 Guarantee
        Department                          zhangbo@cinda.com
        Room 1001, 10th Floor,              .cn
        Block E, Global Trade
        Center, No. 36 North
        Third Ring Road,
        Dongcheng District,
        Beijing CHINA
        100013




Official form 104                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                          page 1

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Debtor      Yueting Jia                                                                Case number (if known)
            Name

       Name of creditor and        Name, telephone number   Nature of claim       Indicate if    Amount of claim
       complete mailing address,   and email address of     (for example, trade   claim is
       including zip code          creditor contact         debts, bank loans,    contingent,
                                                            professional          unliquidated   Total Claim (secured   Value of Security   Unsecured claim
                                                            services, and         or disputed    and unsecured)
                                                            government
                                                            contracts)
3.   5Ping An Bank Co., Ltd.       Yao Zhang         Personal                                    $230,846,153.85 $24,044,756.51             206,801,397.24
      Beijing Branch               (+86)18600299807 Guarantee/
      Room 1105,Building           zhangyao335@pinga Stock Pledge
      A，Oriental Media             n.com.cn
      Center No.4
      Guanghua Road，
      Chaoyang District,
      Beijing 100026
      CHINA

      Ping An Bank Co., Ltd.
      Shenzhen Branch
      No. 1009, Shennan
      Zhong Road, Futian
      District, Shenzhen,
      Guangdong, CHINA
      518000
4.   4Zhejiang Zhongtai            Xijie Jin        Personal                                     $181,818,181.82 $0.00                      $181,818,181.82
      Chuangzhan Enterprise        (+86)13810445157 Guarantee
      Management Co., Ltd.         124898362@qq.com
      29th Floor, Block T1,
      Wangjing Poly
      International Plaza,
      Chaoyang District,
      Beijing CHINA 100102
5.   1China Minsheng Trust         Hao Yan                  Personal                             $189,860,139.86 $14,130,247.42             $175,729,892.44
     4Co., Ltd.                    13651286130              Guarantee/
      18th Floor, Block C,         yanhao@msxt.com          Stock Pledge
      Minsheng Financial
      Center, No. 28
      Jianguomen Inner
      Street, Dongcheng
      District, Beijing,
      CHINA 100005
6.   6Chongqing Strategic          Jiawang He       Loan                                         $139,860,139.86 $0.00                      $139,860,139.86
      Emerging Industry            (+86)13162857516 Guarantee
      LeEco Cloud Special          13162857516@163.
      Equity Investment Fund       com
      Partnership
      16, Block B1, Tuxing,
      No. 92 Xingguang
      Avenue, New Northern
      District, Chongqing
      401121 CHINA




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Debtor      Yueting Jia                                                                Case number (if known)
            Name

       Name of creditor and        Name, telephone number   Nature of claim       Indicate if    Amount of claim
       complete mailing address,   and email address of     (for example, trade   claim is
       including zip code          creditor contact         debts, bank loans,    contingent,
                                                            professional          unliquidated   Total Claim (secured   Value of Security   Unsecured claim
                                                            services, and         or disputed    and unsecured)
                                                            government
                                                            contracts)
7.   Linfen Investment             Xuesong Wang             Personal                             $139,860,139.86 $0.00                      $139,860,139.86
     Group Co., Ltd.               +8613835765986           Guarantee
     City Investment               lftzcwb@163.com
     Building
     West Fenhe Road
     Linfen Economic
     Technological
     Development Zone
     Linfen, Shanxi 041000
     CHINA
8. 1Ping An Securities Co.,        Yao Zhang         Loan                                        $178,514,685.32 $39,255,272.72             $139,259,412.60
    0Ltd.                          18600299807
     Room 1105, Building           zhangyao335@pinga
     A, Oriental Media             n.com.cn
     Center No.4 Guanghua
     Road，Chaoyang
     District, Beijing
     CHINA 100026
9. 1Changjiang Securities          Yanfang Hu               Loan                                 $139,860,139.86 $28,108,363.63             $111,751,776.23
    3(Shanghai) Asset              13917839177
     Management Ltd.               huyf@cjsc.com
     ChangJiang Asset
     Management,27F,
     Century Link Tower
     1,No.1198 Century
     Avenue,Pudong New
     District, Shanghai
     CHINA 200122
10. 7Huarong Securities Co.,       Contact 1:         Loan                                       $111,173,426.57 $23,745,090.91             $87,428,335.66
     Ltd.                          Hui Ke
     Beijing Branch 3/F,           18601154168
     Block C, No.8 Financial       kehui@hrsec.com.cn
     Street, Xicheng District,
     Beijing CHINA 100033    Contact 2:
                             Jianing Huang
       Beijing Deheng        18658811166
       (Hangzhou) Law Office huangjn@dehenglaw
       10/F, Huafeng         .com
       International, 200
       Xinye Road, Jianggan
       District, Hangzhou,
       Zhejiang 310020
       CHINA




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Debtor      Yueting Jia                                                                Case number (if known)
            Name

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       complete mailing address,   and email address of     (for example, trade   claim is
       including zip code          creditor contact         debts, bank loans,    contingent,
                                                            professional          unliquidated   Total Claim (secured   Value of Security   Unsecured claim
                                                            services, and         or disputed    and unsecured)
                                                            government
                                                            contracts)
11. 1Xizang Jinmeihua              Jun Wang          Loan                                        $81,937,418.00         $0.00               $81,937,418.00
    1Investment Co., Ltd.          Tel: 13927466066  Guarantee
     No.462 Management             Email:
     Committee of Yangda           wangjun@hongzhao.
     Industrial Park in            com
     Duilong Deqing
     District, Lhasa, Tibet,
     851400
12. 8Everbright Xinglong           Contact 1:        Personal                                    $97,902,097.90         $20,417,090.91      $77,485,006.99
     Trust Co., Ltd.               Yuanyuan Chen     Guarantee/
     10F, Financial Street         15001192812       Stock Pledge
     Center Building, No. 9        chenyuanyuan@ebtr
     Financial Street,             ust.com
     Beijing, CHINA
     100032.                       Contact 2:
                                   Zhuo Zhan
     Jilin Jiutai Rural            18946789886
     Commercial Bank               jtnshth2@163.com
     No.2559 Weishan
     Road, Gaoxin District,
     Changchun, Jilin,
     CHINA 130015
13. 1Shanghai Leyu                 YI CHEN                  Loan                  Disputed       $74,211,217.55         $0.00               $74,211,217.55
    6Chuangye Investment           13916863257              Guarantee
     Management Center LP          chenyi@htlcm.com
     2301B Urban
     Headquarters Building,
     168 Tibet Middle Road,
     Huangpu
     District,Shanghai,
     CHINA 200001.
14. 9China Merchants Bank          Youjia Wang      Personal                                     $70,408,163.27         $9,227,636.36       $61,180,526.91
     Co., Ltd. Shanghai            15900914435      Guarantee/
     Chuanbei Branch               wang_yj@cmbchina Stock Pledge
     Room1609，No. 1717,
     North Sichuan Road,
     Hongkou District,
     Shanghai, CHINA
     200080
15. 2Huafu Securities Co.,         Sichen Chen              Loan                                 $69,930,059.93         $13,756,363.63      $56,173,706.30
    4Ltd.                          18621666343
     18F, China Merchants          qyx@hfzq.com.cn
     Bank Tower, No. 1088
     Lujiazui Ring Road,
     Pudong New District,
     Shanghai CHINA
     200120


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Debtor      Yueting Jia                                                                Case number (if known)
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       complete mailing address,   and email address of     (for example, trade   claim is
       including zip code          creditor contact         debts, bank loans,    contingent,
                                                            professional          unliquidated   Total Claim (secured   Value of Security   Unsecured claim
                                                            services, and         or disputed    and unsecured)
                                                            government
                                                            contracts)
16. 1Western Securities Co.,       Ning Liu           Loan                                       $66,223,776.22         $11,581,817.71      $54,641,958.51
    2Ltd                           13909213203
     Room 10000， Building          liuning@xbmail.com
     8, No. 319, Dongxin           .cn
     Street, Xian, Shanxi
     CHINA 710004
17. E-TOWN                         WEI YUAN          Loan                                        $50,000,000.00         $0.00               $50,000,000.00
     INTERNATIONAL                 13801220419       Guarantee
     HOLDING (HONG                 yuanwei@etowncapi
     KONG) CO.,LTD.                tal.com
     23-25 Floors, Block A,
     Yaicheng Wealth
     Center, 22 Ronghua
     Road, Economic and
     Technological
     Development Zone，
     Daxing District, Beijing
     CHINA 100176
18. 2Jiangyin Hailan               YONG TANG                Loan                                 $50,000,000.00         $0.00               $50,000,000.00
    1Investment Holding            13921881766              Guarantee
     Co., Ltd.                     jsfushizi@163.com
     Xinqiao Town, HaiLan
     investment,
     Hailan Garment
     Industry City, Jiangyin,
     Jiangsu, CHINA
     214400
19. 1TWC Group Co., Ltd.           Renjiang Cheng     Loan                        Disputed       $50,000,000.00         $0.00               $50,000,000.00
    9No. 6，Chaowai Street,         Tel: 18001162092   Guarantee
     12 Floors,Block               Email:
     B,Wantong Center,             renjiangc@twcgroup
     Chaoyang District,            .com
     Beijing, CHINA
     100005
20. Huaxin International           Feng Zifeng              Personal                             $55,944,055.94         $8,598,909.09       $47,345,146.85
     Trust Co., Ltd.               Tel: 010-83568281        Guarantee/
     11th Floor Tower B                                     Stock Pledge
     China Huadian
     Building
     No. 2 Xuanwumen Nei
     Street, Xicheng District
     Beijing 100031 CHINA




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